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                Case: 19-13737 Date Filed: 05/13/2020 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                           May 13, 2020

  Clerk - Middle District of Florida
  U.S. District Court
  801 N FLORIDA AVE
  TAMPA, FL 33602-3849

  Appeal Number: 19-13737-CC
  Case Style: USA v. Bruce Harrison
  District Court Docket No: 8:94-cr-00220-SCB-MAP-5

  A copy of this letter, and the judgment form if noted above, but not a copy of the court's
  decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
  was previously forwarded to counsel and pro se parties on the date it was issued.

  The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
  was previously provided on the date of issuance.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Lois Tunstall
  Phone #: (404) 335-6191

  Enclosure(s)
                                                                      MDT-1 Letter Issuing Mandate
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                Case: 19-13737 Date Filed: 05/13/2020 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                   For the Eleventh Circuit
                                       ______________

                                           No. 19-13737
                                          ______________

                                      District Court Docket No.
                                     8:94-cr-00220-SCB-MAP-5

  UNITED STATES OF AMERICA,

                                                     Plaintiff - Appellee,

  versus

  BRUCE WAYNE HARRISON,
  a.k.a. Hopper,
  a.k.a. Grasshopper,
  a.k.a. Loose Bruce,,

                                               Defendant - Appellant.
                         __________________________________________

                         Appeal from the United States District Court for the
                                     Middle District of Florida
                         __________________________________________

                                            JUDGMENT

  It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
  entered as the judgment of this Court.

                                       Entered: April 14, 2020
                           For the Court: DAVID J. SMITH, Clerk of Court
                                        By: Djuanna H. Clark




  ISSUED AS MANDATE 05/13/2020
